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               8                    UNITED STATES DISTRICT COURT
               9                  CENTRAL DISTRICT OF CALIFORNIA
               10          WESTERN DIVISION - ROYBAL FEDERAL BUILDING
               11 GENNADY GENNADYEVICH                 Case No. 2:19-cv-02485
                  GOLOVKIN,
               12                                      Hon. R. Gary Klausner
                             Plaintiff,
               13                                      [PROPOSED] ORDER GRANTING
                       v.                              STIPULATION TO REMAND
               14                                      REMOVED ACTION
                  DR. MAXIMILIAN HERMANN,
               15 OLEG HERMANN, HERMANN
                  SPORTMANAGEMENT, GbR, and
               16 DOES 1-10,
               17           Defendants.
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  Mitchell     28
Silberberg &
 Knupp LLP

                            ORDER GRANTING STIPULATION TO REMAND REMOVED ACTION
               1                                       ORDER
               2        On April 9, 2019, the Parties to the above-referenced action filed a
               3 Stipulation to Remand Removed Action. The Court having reviewed that
               4 stipulation and good cause appearing, orders as follows:
               5     1. The Parties’ stipulation is approved;
               6     2. Central District of California case number 2:19-cv-02485 styled Golovkin v.
               7 Hermann et al. is hereby remanded to Los Angeles County Superior Court.
               8        SO ORDERED.
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               11 Dated:   April 23,
                           2019
               12                                               R. Gary Klausner
                                                                United States District Judge
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  Mitchell     28
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 Knupp LLP
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                              ORDER GRANTING STIPULATION TO REMAND REMOVED ACTION
